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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 MICHIGAN DEPARTMENT OF
 ENVIRONMENTAL QUALITY,

        Plaintiff,                                               Case No. 1:18-cv-39

 and                                                             HON. JANET T. NEFF

 PLAINFIELD CHARTER TOWNSHIP, et al.

        Intervenors-Plaintiffs,

 v.

 WOLVERINE WORLD WIDE, INC.,

       Defendant.
 ________________________________/

 WOLVERINE WORLD WIDE, INC.,

        Third-Party Plaintiff,

 v.

 3M COMPANY,

        Third-party Defendant.
 ____________________________/

                                            ORDER

       The parties are placed on notice that any filings referencing opinions, orders or other

documentary evidence that are not accessible through an electronic database shall include the

referenced document as an exhibit to the filing.

       Third-Party Defendant 3M Company shall not later than Wednesday, April 3, 2019, at 5:00

p.m., file a copy of the Opinion/Order re: Defendant 3M’s Omnibus Motions for Summary
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